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                                                                            Projected Cash Flow
                                                                            Case No. 19-11500
                                           2020 (June-Dec)   2021              2022              2023           2024        2025 (thru Dec)   TOTALS

INCOME
            Annual wages AND draws                100,000      210,000           215,000           220,000        225,000          113,000    1,083,000
                         Social Security           18,156       36,812            39,312            39,812         40,300           20,150      194,542
                       Rental Income                4,113        8,226             8,226                                                         20,565
                   Avoidance Actions                7,500                                                                                         7,500
                   Sale of Properties                                           1,564,000                                                     1,564,000
SUBTOTAL                                          129,769      255,038          1,826,538          259,812        265,300          133,150    2,869,607

Taxes                                              16,500       29,518            32,469            35,718         39,289           21,608     175,102
SUBTOTAL-DEDUCTIONS                                16,500       29,518            32,469            35,718         39,289           21,608     175,102

TOTAL NET INCOME                                  113,269      225,520          1,794,069          224,094        226,011          111,542    2,694,505
EXPENSES
Class 1: Bank of New York Mtg                     27,000        54,000            349,000                                                      430,000
Class 2: SunTrust Bank                             2,100         4,200             26,710                                                       33,010
Class 3: Daniel Kohn Trust                     Tradeways     Tradeways            600,000        Tradeways      Tradeways       Tradeways      600,000
Class 4: IRS Secured Claim                        12,000        24,000            129,000                                                      165,000
Class 5: Dept of Labor                         Tradeways     Tradeways         Tradeways         Tradeways      Tradeways       Tradeways
Class 6: General Unsecureds                        8,000        30,000             60,000           30,000         30,000          15,000       173,000
U.S. Trusee Fees                                   1,625         1,625                 -               -              -               -           3,250
Priority Comptroller                               7,200        14,400             16,500           21,500            -               -          59,600
Priority IRS                                       7,200        14,400            460,000           75,000        115,000             -         671,600
Home Rent Expenses                                   -                             15,000           32,000         34,000          17,000        98,000
Insurance (Car and Real Props)                     2,500            5,300           5,600            5,900          6,200           3,100        28,600
Utilities                                          2,200            4,600           4,800            5,000          5,200           2,600        24,400
Home Maint./Improvements                           2,500            5,000          10,000            1,500          1,800           2,160        22,960
Food                                               4,300            8,600           8,600            8,600          8,600           4,300        43,000
Clothing/Laundry                                   2,400            4,800           4,800            4,800          4,800           2,400        24,000
Transportation                                     1,780            3,560           5,000            5,500          6,400           3,200        25,440
Legal/Professional Fees                        New Value            9,000          10,800           11,960         13,450           6,725        51,935
Medical and Medical Insurance                      3,600            7,920           8,712            9,583         10,541           5,270        45,626
Miscellaneous                                      3,000            6,300           6,450            6,600          6,765           3,390        32,505
Capital Gains Taxes                                                                60,000                                                        60,000
TOTAL EXPENSES                                     87,405      197,705          1,780,972          217,943        242,756           65,145    2,591,926


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                                                Projected Cash Flow
                                                Case No. 19-11500
NET INCOME AFTER EXPENSES   24,369     27,815         13,097             6,151         46,397   117,829




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